    Case 3:23-cr-00026-MEM   Document 669   Filed 09/20/24   Page 1 of 14




                 UNITED STATES DISTRICT COURT
                MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                :
         -vs-                           :     No. 3: 23-CR-26-05
RAHMEL WIGFALL, aka “Inf,”              :     (JUDGE MANNION)
                     Defendant          :


          GOVERNMENT’S SENTENCING MEMORANDUM

     The defendant, Rahmel Wigfall, is presently scheduled for

sentencing before this Honorable Court on September 25, 2024, after

having entered a plea of guilty to Count 1 of the Indictment, the charge

of Conspiracy to Distribute and Possess with Intent to Distribute more

than 400 Grams of Fentanyl, a Schedule II Controlled Substance, in

violation of 21 U.S.C. §§ 846 and 841(b)(1)(A). The government hereby

submits this sentencing memorandum as an aid to the Court in

rendering a just sentence in this matter.


     Pursuant to the terms of the plea agreement in this case (Doc.

457), the parties agreed to recommend that at least 400 grams of

fentanyl, but less than 1.2 kilograms of fentanyl, are attributable to the

defendant for the purposes of sentencing. Id. at ¶12.



                                    1
    Case 3:23-cr-00026-MEM    Document 669   Filed 09/20/24   Page 2 of 14




     The Offense:


     The offense conduct is set forth in detail in the PSR. (See ¶¶ 8-

16). This investigation began on February 18, 2021, after the drug

overdose death of a twenty-eight-year-old woman in Wilkes-Barre. (¶ 8).

The overdose victim was found alone in her vehicle with the engine still

running. Three small blue pills – each stamped “M-30” – were found

inside her vehicle. The investigation would reveal that the victim had

purchased four small blue pills from a Wilkes-Barre based drug dealer

and that she died after ingesting just one of the pills.


     As the investigation progressed, investigators learned of a wide-

ranging drug trafficking conspiracy involving the trafficking of fentanyl

pills sent via mail from Arizona to Pennsylvania. The indictment

presently before the Court charges a conspiracy beginning in January

2020 through the date of the indictment – February 14, 2023. Many of

the defendants in this indictment were ordering large quantities of

fentanyl pills from, and transmitting cash payments to, one of several

fentanyl sources in Arizona, including Davon Beckford and Tyla Griffin

(both charged in a separate indictment), Shane Burns and/or Burns’

girlfriend, Christina Patacky-Beghin. Packages containing fentanyl
                                     2
    Case 3:23-cr-00026-MEM   Document 669   Filed 09/20/24   Page 3 of 14




pills were then sent to Pennsylvania from Arizona via the U.S. Postal

Service.


     The pills were then distributed by conspirators in MDPA.


     Rahmel Wigwall, aka “Inf,” was a distributor of fentanyl pills in

the Luzerne County area. His source for the pills was Devon Beckford

in Arizona. Wigfall sent money for payment of the pills directly to

Beckford via “Cash App.” Wigfall also provided money to co-defendant

and co-conspirator Mercedes Smith, Beckford’s money collector, which

Smith then provided to Beckford. Beckford would then mail packages

containing fentanyl pills to addresses associated with Wigfall in the

Wilkes-Barre area. One of those addresses was the residence of co-

defendant Shayna Colon Acosta, a drug addict. Wigfall exploited Colon

Acosta’s drug addiction by paying her with pills in exchange for

allowing him to use her address and residence as a place to receive

packages of fentanyl pills sent via mail from Arizona. Text messages

and mail tracking receipts found in Beckford’s phone confirm the

transactions between Wigfall and Smith, and Wigfall and Beckford.




                                    3
    Case 3:23-cr-00026-MEM   Document 669   Filed 09/20/24   Page 4 of 14




     Upon receipt of the pills from Beckford, Rahmel Wigfall

distributed the pills in the Luzerne County area.


     The plea agreement indicates that Wigfall was accountable for the

distribution, and possession with intent to distribute, between 400

grams to 1.2 kilogram of fentanyl. The drug weight is based on the

price per pill charged by Beckford and the typical quantity of pills

mailed by Beckford from Arizona.


     The Presentence Report:


     The U.S. Probation Office prepared a Presentence Investigation

Report (PSR) in this case. The PSR indicates that the defendant’s total

offense level is 27 and the criminal history category is V, resulting in an

advisory guideline range of 120 to 150 months. PSR ¶ 64. There is a

mandatory minimum sentence of 120 months which applies in this case.

PSR ¶ 63.


     The PSR indicates that the defendant has prior criminal

convictions for the following offenses:


     ¶ 33 Unauthorized Use of a Motor Vehicle (Arrested in 2004).

     On February 16, 2004, Rahmel Wigfall operated a stolen vehicle in

                                     4
    Case 3:23-cr-00026-MEM   Document 669   Filed 09/20/24   Page 5 of 14




Exeter Township, PA. When officers attempted to stop the vehicle,
Wigfall did not stop until he rammed a second police vehicle.

      ¶34 Criminal Attempt – Recklessly Endangering Another Person
(2 Counts) and Criminal Attempt – Fleeing or Attempting to Elude an
Officer (Arrested in 2004).

     Details are set forth in ¶ 33 above.

     ¶35 Escape (Arrested in 2006)

     On July 7, 2005, Rahmel Wigfall was arrested for outstanding
warrants after he was observed consuming alcohol and possessing illicit
drugs in front of 296 Brown Street, Wilkes-Barre. As the defendant was
about to be handcuffed, he fled through the home to the backyard. The
subject hopped several fences into a wooded area and evaded arrest.

     ¶36 Simple Assault (Arrested in 2009)

     On January 23, 2009, Rahmel Wigfall and several others
assaulted Allende Frias and Reina Matias at 324 North Empire Court,
Wilkes-Barre. Allende Frias was stabbed during the assault.

     ¶ 37 Manufacture, Delivery, or Possession with Intent to Deliver a
Controlled Substance (Arrested in 2009)

      On June 23, 2009, Rahmel Wigfall sold 100 packets of heroin to a
confidential informant at the Red Roof Inn, Wilkes-Barre. The
defendant attempted to evade arrest by running into a three-lane
highway.

     ¶38 Manufacture, Delivery, or Possession with Intent to Deliver a
Controlled Substance (Arrested in 2014)

     In January 2014, Lackawanna County detectives intercepted
multiple drug-related conversations between a confidential source and
Rahmel Wigfall. On January 27, 2014, a controlled purchase of heroin
from Rahmel Wigfall was conducted on Meadow Avenue in Scranton. A
search of his person, subsequent to arrest, resulted in the seizure of
$494 and 150 glassine baggies of heroin.


                                    5
    Case 3:23-cr-00026-MEM   Document 669   Filed 09/20/24   Page 6 of 14




     ¶39 Manufacture, Delivery, or Possession with Intent to Deliver a
Controlled Substance and Recklessly Endangering Another Person
(Arrested in 2016)

      On September 29, 2016, Rahmel Wigfall and Jamal Morrison sold
a quantity of heroin to a confidential informant at a Convenient Mart in
Scranton. When detectives attempted to arrest the suspects after the
transaction, Rahmel Wigfall put his car in reverse and attempted to flee
the scene. He struck a parked vehicle and was immediately
apprehended. Detectives seized 80 packets of heroin from inside
Wigfall’s underwear.

      Note: The defendant committed the present drug trafficking
offense while under a criminal justice sentence for the drug trafficking
offense set forth in ¶ 39.

      The Criminal History Category here is V.



     The Sentencing Process:

     District courts engage in a familiar three-step process when

sentencing criminal defendants:

     A district court must begin the process by first calculating the
     applicable sentencing guidelines range. After that initial
     calculation, the court must then rule on any motions for departure
     and, if a motion is granted, state how the departure affects the
     guidelines calculation. Finally, after allowing the parties an
     opportunity for argument, the court must consider all of the §
     3553(a) factors and determine the appropriate sentence to impose,
     which may vary from the sentencing range called for by the
     guidelines.

United States v. Tomko, 562 F.3d 558, 567 (3d Cir. 2009) (en banc).




                                    6
    Case 3:23-cr-00026-MEM    Document 669   Filed 09/20/24   Page 7 of 14




     As indicated, in the PSR, the U.S. Probation Office determined

that the defendant’s total offense level is 27 and his criminal history

category is V, resulting in an advisory guideline range of 120 to 150

months.


    The Sentencing Factors:
    Under the sentencing statute, the sentence to be imposed needs to

reflect the seriousness of the offense, promote respect for the law,

provide for just punishment, deter others from engaging in similar

conduct, protect the public from further crimes of the defendant, and

provide the defendant with needed educational or vocational training,

medical care, or other correctional treatment in the most effective

manner. 18 U.S.C. § 3553(a)(2).

    Fentanyl is Killing Americans at an Unprecedented Rate:

    Here, the defendant is responsible for the distribution, and

possession with intent to distribute, between 400 grams and 1.2

kilograms of fentanyl. The crime is serious. Fentanyl is a highly

addictive and dangerous substance. The amount for which the

defendant is accountable is very significant, particularly when one

considers that the use – literally – of just a few grains or specks of


                                     7
          Case 3:23-cr-00026-MEM   Document 669   Filed 09/20/24   Page 8 of 14




fentanyl can result in overdose or death. In fact, the investigation in

the present matter began with the accidental overdose death of a

twenty-eight-year-old woman in Wilkes-Barre who ingested one small

pill containing fentanyl.


           More than 1 million people have died since 1999 from a drug

overdose. 1 In 2021, 75% of drug overdose deaths involved an opioid,

including prescription opioids, heroin, and fentanyl.2 Overdoses

involving opioids killed more than 80,000 people in 2021 and nearly

88% of those deaths involved synthetic opioids like fentanyl. 3

           Provisional data shows that drug overdose deaths in the United

States surpassed 100,000 in 2022. 4 Fentanyl was responsible for 73,654

of those deaths.5 Fentanyl deaths have increased every year for the

past decade. 6

           In April 2022, DEA administrator Anne Milgram outlined the

current fentanyl overdose threat and stated, “Fentanyl is killing


1 Data Overview | Opioids | CDC
2   Id.
3   Id.
4 Provisional Data Shows U.S. Drug Overdose Deaths Top 100,000 in

2022 | Blogs | CDC
5 Are fentanyl overdose deaths rising in the US? (usafacts.org)
6 Id.

                                          8
    Case 3:23-cr-00026-MEM    Document 669   Filed 09/20/24   Page 9 of 14




Americans at an unprecedented rate. Already this year, numerous

mass-overdose events have resulted in dozens of overdoses and deaths.

Drug traffickers are driving addiction, and increasing their profits, by

mixing fentanyl with other illicit drugs. Tragically, many overdose

victims have no idea they are ingesting deadly fentanyl, until it’s too

late.”7 (This is precisely what happened in the present investigation.

The accidental overdose victim in Wilkes-Barre thought she was

ingesting a Percocet pill.)


     According to the Pennsylvania Attorney General’s Office, the

opioid epidemic is the number one public health and public safety

challenge facing Pennsylvania. 8 Pennsylvania’s overdose death rate is

71.9% higher than the national average overdose death rate.9 Over 6%

of nationwide overdose deaths occur in Pennsylvania. 10 As this Court is

well aware, the opioid epidemic continues to impact the Middle District




7 https://www.dea.gov/press-releases/2022/04/06/dea-warns-increase-

mass-overdose-events-involving-deadly-fentanyl
8 Opioid Battle – PA Office of Attorney General
9 Drug Overdose Death Statistics [2023]: Opioids, Fentanyl & More

(drugabusestatistics.org)
10 Drug Overdose Death Statistics [2023]: Opioids, Fentanyl & More

(drugabusestatistics.org)
                                     9
     Case 3:23-cr-00026-MEM   Document 669   Filed 09/20/24   Page 10 of 14




of Pennsylvania.


      In August 2023, the Pennsylvania Department of Health issued

their findings regarding fatal and non-fatal overdoses in Pennsylvania

in 2021. 11 In 2021, 5,356 drug overdose deaths occurred in

Pennsylvania and 85% were confirmed to be opioid related. 12


      Importantly, for every drug overdose that results in death, there

are many more nonfatal overdoses. 13 People who have had at least one

overdose are more likely to have another. 14 Between January 1, 2018,

and July 15, 2023, Pennsylvania emergency service personnel

administered 89,360 doses of Naloxone.15 During that same time

period, there were 52,570 emergency room visits for opioid overdoses. 16

Accordingly, there are scores of individuals living with addiction and

committing crimes to support their habits. Crime increases when




11
  Pennsylvania Overdose Data Brief 2021.pdf (pa.gov)
12 Pennsylvania Overdose Data Brief 2021.pdf (pa.gov)
13 Understanding Drug Overdoses and Deaths | Drug Overdose | CDC

Injury Center
14 Understanding Drug Overdoses and Deaths | Drug Overdose | CDC

Injury Center
15 Pennsylvania Opioids | PA Open Data Portal
16 Pennsylvania Opioids | PA Open Data Portal

                                     10
      Case 3:23-cr-00026-MEM     Document 669   Filed 09/20/24   Page 11 of 14




addicts deplete their savings and bargain away their possessions to

support their habit.

           Interviews of drug users and treatment personnel indicate that

users often experience multiple drug overdoses in the course of their

drug use, and “widespread naloxone availability has resulted in many

lives saved.” 17 In addition to the overdoses, the economic and social

costs to the community are overwhelming. Fentanyl, heroin, and other

opioids tear apart families, and the community is left to support loved

ones left behind. It has impacted families across all racial groups,

geographic regions and socioeconomic classes. 18

           This Court should consider these statistics and the havoc that

fentanyl and the other opioids are wreaking in our community when it

imposes its sentence in this case.


           Here, Rahmel Wigfall, known as “Inf,” was part of a wide-spread

fentanyl trafficking conspiracy that wreaked havoc in our community.

The conspiracy in which he participated was responsible for distributing

thousands of fentanyl pills on the streets of Northeastern Pennsylvania.



17   Id.
18 https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7829093/

                                        11
    Case 3:23-cr-00026-MEM   Document 669   Filed 09/20/24   Page 12 of 14




Wigfall’s prior criminal history is very concerning. He has a criminal

history including violence, assault, escape and fleeing from the police.

He has three prior drug-trafficking convictions. Further, he committed

the present offense while under a criminal justice sentence for a

previous drug trafficking offense. Previous sentences of incarceration

have failed to deter him – his drug trafficking activities escalated, and

he continued to engage in drug trafficking – no matter the damage he

caused to the community.


     From the government’s perspective, the important factors set forth

in 18 U.S.C. §3553(a) which the Court must consider in imposing a

sentence on this defendant include the need for the sentence to:


     • reflect the seriousness of the offense,

     • promote respect for the law,

     • provide just punishment for the offense,

     • afford adequate deterrence to criminal conduct and

     • protect the public from further crimes of the defendant.


(See 18 U.S.C. § 3553(a)).


     There is a 120-month mandatory minimum sentence in this case.

                                    12
   Case 3:23-cr-00026-MEM   Document 669   Filed 09/20/24   Page 13 of 14




     Based on the above, the government recommends that this Court

impose a sentence which is within the advisory guideline range of 120

to 150 months




                                        Respectfully submitted,


                                        GERARD M. KARAM
                                        United States Attorney


                                    By: /s/ ROBERT J. O’HARA
                                       ROBERT J. O’HARA
                                       Assistant U.S. Attorney
Date: September 20, 2024




                                   13
   Case 3:23-cr-00026-MEM   Document 669   Filed 09/20/24   Page 14 of 14




                     CERTIFICATE OF SERVICE



      The undersigned hereby certifies that she is an employee in the
Office of the United States Attorney for the Middle District of
Pennsylvania and is a person of such age and discretion as to be
competent to serve papers.



     That on September 20, 2024, she served a copy of the attached:

         GOVERNMENT’S SENTENCING MEMORANDUM



By email to:

Attorney David Cherundolo
Counsel for the Defendant


                                 /s/ Terri L. Pendolphi
                                 Terri L. Pendolphi
                                 Legal Administrative Specialist




                                   14
